Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 1 of 18




                           EXHIBIT D
        Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 2 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
        Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 3 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
        Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 4 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
        Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 5 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
        Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 6 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
        Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 7 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
        Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 8 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
        Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 9 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 10 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 11 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 12 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 13 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 14 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 15 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 16 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 17 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017
       Case 1:21-cv-01907-RBJ Document 1-5 Filed 07/14/21 USDC Colorado Page 18 of 18
Document Accession #: 20170324-5245    Filed Date: 03/24/2017

   Document Content(s)
   FERC 2035-099 Motion to Intervene.PDF.....................................1
